Case 2:02-CV-02489-BBD-STA Document 16 Filed 05/13/05 Page 1 of 3 Page|D 11

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.__‘ EJ.C, -GUJZ‘ _G
IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DI TR T 1 err» ad .a»
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Plaintiff/Respondent,

VS. CV NO. 02-2489-DV/

CR NO. 00-20129-D
KENT GORDON GARVER,

Defendant/Petitioner.

 

MOTION TO WITHDRAW

 

Robert C. Brooks, Attorney at Law, having heretofore

been appointed to represent the defendant herein, hereby

moves to withdraw from further representation, and for
grounds would show to the Court that his practice is now
limited to direct appeals and, due to prior obligations, he
is unable to appear in the district court on behalf of the

defendant for the upcoming evidentiary hearing.

Respectfully sub ted,
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§osERT c. §ooKs
Attorney a Law
P.O. Box 7 558
Memphis, TN
(901)763~2832

  
  

     

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With Hule 58 and!or 79{3) FRCP on 5'° ‘g ’

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CERTIFICATE OF SERVICE
Robert C. Brooks, Attorney at Law, has this date mailed
a copy of the foregoing motion to withdraw to Carroll L.
Andre, III, Asst. U.S. Attorney, 157 N Main St, Ste 800,
Memphis, TN 38103-1898, and Kent Gordon Garver, 4904
Greenway Ave., Memphis TN 38117.

THIS 20th day of April, 2005.

    
  

,,OB
Attorney at LJ

TRICT COURT -sTEWERNDT"IsIC oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 16 in
case 2:02-CV-02489 Was distributed by faX, mail, or direct printing on
May ]8, 2005 to the parties listed.

 

 

Robert C. Brooks

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P.O. BOX 771558

l\/lemphis7 TN 38177

Carroll L. Andre

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

